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 4
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10
                                 UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12
                                    SAN FRANCISCO DIVISION
13
     MAXIMILIAN KLEIN, et al.,                   Consolidated Case No. 3:20-cv-08570-JD
14
                  Plaintiffs,
15                                               DECLARATION OF KEVIN Y. TERUYA IN
                                                 SUPPORT OF CONSUMER PLAINTIFFS’
16          vs.
                                                 REPLY IN FURTHER SUPPORT OF
                                                 MOTION FOR CLASS CERTIFICATION
17 META PLATFORMS, INC.,
                                                 AND   APPOINTMENT    OF    CLASS
18                                               COUNSEL
                  Defendant.
19 This Document Relates To: All Actions         The Hon. James Donato

20                                               Hearing Date: Dec. 14, 2023 at 10:00 a.m.

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                                                                     Case No. 3:20-cv-08570-JD
     TERUYA DECLARATION ISO CONSUMER PLAINTIFFS’ REPLY ISO MOTION FOR CLASS CERTIFICATION
       Case 3:20-cv-08570-JD Document 696-3 Filed 11/03/23 Page 2 of 3




 1             I, Kevin Y. Teruya, declare:

 2             1.     I am a partner at Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”). I

 3 serve as Interim Co-Lead Consumer Class Counsel for the Consumer Class in this action. I have been

 4 actively involved in this action, am familiar with the proceedings, and have personal knowledge of the

 5 matters stated herein.

 6             2.     I respectfully submit this declaration in support of Consumer Plaintiffs’ Reply in

 7 Further Support of Motion for Class Certification and Appointment of Class Counsel. Attached to this

 8 declaration are true and correct copies of Exs. 1–9, which are documents and deposition transcripts

 9 that Consumer Plaintiffs cite in their Reply. For the Court’s convenience, the relevant portions of the

10 documents and deposition transcripts have been highlighted and, where applicable, excerpted.1

11    Ex. No.                          Description of Exhibit                       Provisionally Filed
                                                                                       Under Seal
12
      1             Excerpts of October 29, 2020 Form 10-Q of Facebook, Inc. No
13                  filed with the Securities and Exchange Commission

14    2             “Restrictions on Privacy and Exploitation in the Digital No
                    Economy: A Market Failure Perspective,” Nicholas
15                  Economides & Ioannis Lianos (Jan. 27, 2021)

16    3             September 1, 2023 Email from Facebook Counsel                   No

17    4             Excerpts from the Deposition Transcript of Dr. Nicholas Yes
                    Economides, taken in Klein v. Meta Platforms on Sept. 14, 2023
18
      5             Excerpts from the Deposition Transcript of Dr. Joseph Farrell, Yes
19                  taken in Klein v. Meta Platforms on Sept. 22, 2023
20    6             Excerpts from the Deposition Transcript of Dr. Catherine Yes
                    Tucker, taken in Klein v. Meta Platforms on Sept. 7, 2023
21
      7             Deposition Transcript of Maximilian Klein, taken in Klein v. Yes
22                  Meta Platforms on May 31, 2023
23    8             Deposition Transcript of Sarah Grabert, taken in Klein v. Meta Yes
                    Platforms on April 24 and 25, 2023
24
      9             Deposition Transcript of Rachel Banks Kupcho, taken in Klein Yes
25                  v. Meta Platforms on May 22, 2023
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28            Should the Court find it helpful, Consumers can submit any excerpted materials in full.

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       Case 3:20-cv-08570-JD Document 696-3 Filed 11/03/23 Page 3 of 3




 1         I declare under penalty of perjury under the laws of the United States that the foregoing is

 2 true and correct.

 3         Executed on this 3rd day of November 2023 in Los Angeles, California.

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 5                                                                        By     /s/ Kevin Y. Teruya

 6                                                                               Kevin Y. Teruya

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     TERUYA DECLARATION ISO CONSUMER PLAINTIFFS’ REPLY ISO MOTION FOR CLASS CERTIFICATION
